 Case 3:13-cv-04689-D Document 199 Filed 07/29/16            Page 1 of 13 PageID 4569


                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

TOMMY NGUYEN, PAULUS NIEKDAM,                   §
and LOC TRAN, Individually and on Behalf        §
of All Others Similarly Situated,               §
                                                §
             Plaintiffs,                        §
                                                §
vs.                                             §     CIVIL ACTION NO. 3:13-cv-04689-D
                                                §
VERSACOM, LLC, MUHAMMAD AL-AMIN,                §
Individually, and AFREEN AL-AMIN,               §
Individually,                                   §
                                                §
             Defendants.                        §


       MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
               MODIFICATION OF SCHEDULING ORDER




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                 PAGE 1
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16     Page 2 of 13 PageID 4570


                                TABLE OF CONTENTS

 Table of Contents        …………………………………………….………………………...2

 Table of Authorities     …………………………………………….………………………...3

 Procedural and
 Factual Background       …………………………………………….………………………...4

 Argument                 …………………………………………….…………………….…10

 Conclusion               ……………………………………………………………………..12

 Certificate of Service   ……………………………………………………………………...13

 Certificate of           ….…………………………………………Motion for Continuance
 Conference

 Exhibits/Evidence        …………………………………………………………..…Appendix




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                        PAGE 2
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16     Page 3 of 13 PageID 4571




                              TABLE OF AUTHORITIES


Cases:
Davis v. Duplantis, 448 F.2d 918, 921 (5th Cir. 1971)…………………………………………10

Statutes:

29 U.S.C. § 201, et. seq ……………………………………………………………………..……4

Fed.R.Civ.P. 16(b)(4). ………………………………………………………………….………..10




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                        PAGE 3
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                 Page 4 of 13 PageID 4572




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

TOMMY NGUYEN, PAULUS NIEKDAM,                       §
and LOC TRAN, Individually and on Behalf            §
of All Others Similarly Situated,                   §
                                                    §
               Plaintiffs,                          §
                                                    §
vs.                                                 §   CIVIL ACTION NO. 3:13-cv-04689-D
                                                    §
VERSACOM, LLC, MUHAMMAD AL-AMIN,                    §
Individually, and AFREEN AL-AMIN,                   §
Individually,                                       §
                                                    §
               Defendants.                          §

  MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND MOTION
           FOR MODIFICATION OF SCHEDULING ORDER


       COME NOW, Defendants VERSACOM, LLC, MUHAMMAD AL-AMIN, and AFREEN

AL-AMIN, and asks this Court to Continue the trial of this case and modify the Scheduling Order

and, in support thereof, would respectfully show the Court as follows:

                                             I.
                             PROCEDURAL AND FACTUAL BACKGROUND

       1.      This is an action arising to recover alleged unpaid wages and overtime pay brought

under the Fair Labor Standard Act, 29 U.S.C. § 201, et. seq. (hereinafter FLSA). (Doc. 10).

       2.      On July 11, 2013, Versacom filed a lawsuit against Plaintiffs Tuan Ngo and Loc

Tran alleging a cause of action for breach of fiduciary duty in the District Court of Collin Count

bearing Cause No. 416-02676-2013 (hereinafter “State Court Case”). See Affidavit of Muhammad

Al-Amin, attached as Exhibit 1, ¶ 3.



MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                          PAGE 4
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                 Page 5 of 13 PageID 4573


       3.      In the State Court Case, in their Second Amended Petition, Versacom alleged that

Loc Tran breached his fiduciary duty when he failed to devote their full time and efforts to

Versacom by setting up a competing company while still employed by Versacom and committed

fraud against Versacom. See Exhibit 2, pages 10 & 11-12.

       4.      On November 26, 2013, Plaintiffs filed their Original Collective Class Action

Complaint against Defendants. (Doc. 1).

       5.      On December 31, 2013, Defendants filed an Answer to the Plaintiffs Original

Collective Class Action Complaint. (Doc. 8).

       6.      On January 14, 2014, Plaintiffs filed an Amended Complaint. (Doc. 10).

       7.      On January 28, 2014, Defendants filed an Answer to the Amended Complaint.

(Doc. 12).

       8.      On February 11, 2014, the Court entered a Scheduling Order, which provided, inter

alia, that the deadline for Completion of Discovery was December 15, 2014. (Doc. 15).

       9.      On January 15, 2014, Plaintiffs filed a Motion for Conditional Certification and

authorizing Plaintiffs to issue “opt-in” notices to all purportedly similarly situated current and

former non-exempt employees of Versacom, LLC (“Versacom”). (Doc. 16).

       10.     On August 5, 2014, Defendants filed their Response and Objection for Plaintiffs’

Motion for Conditional Certification on the basis that the Plaintiffs were not similarly situated.

(Doc 19).

       11.     On August 19, 2014, the Plaintiffs filed a Reply to Defendants’ Response to

Plaintiffs’ Motion for Conditional Certification. (Doc. 22).




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                          PAGE 5
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                  Page 6 of 13 PageID 4574


       12.     On December 4, 2014, Plaintiffs filed an expert designation, which included a

report from David Breshears who offered an opinion concerning the damages of Tommy Nugyen,

Paulus Niekdam, and Loc Tran. A copy of the report is attached as Exhibit 3.

       13.     On March 27, 2015, the Court issued a Memorandum Opinion and Order

conditionally certifying a collective group of all individuals who worked for Versacom as field

wireless technicians from November 26, 2010 through March 27, 2015 (Doc. 65).

       14.     The Court directed Defendants to produce to Plaintiffs’ counsel the contact

information for all such individuals by no later than 30 days after March 27, 2015. (Doc. 65)

       15.     Defendants complied with the Order, and they produced the contact information to

Plaintiffs’ counsel on April 23, 2015.

       16.     While the Motion for Conditional Certification was still pending and within a few

days after the parties attended a Court-ordered mediation session on January 16, 2015, Plaintiffs

filed notices of consent for six more individuals who were opting-in to the case (Doc. 51-56).

       17.     While the Motion for Conditional Certification was still pending and within a few

days after the parties attended a Court-ordered mediation session on January 16, 2015, Plaintiffs

filed notices of consent for six more individuals who were opting-in to the case (Doc. 51-56).

       18.     Accordingly, on or about May 5, 2015, Defendants filed a Motion for Modification

of Scheduling Order, Continuation of Trial Setting, and Request for Expedited Ruling. (Doc. 84).

       19.     On May 26, 2015, the Court referred Defendants’ Motion for Modification of

Scheduling Order and Continuation of Trial Setting to the Magistrate for Determination and, on

its own initiative vacated the August 3, 2015 trial setting. (Doc. 116).

       20.     On June 4, 2015, the Court graciously granted Defendants’ Motion for a

Modification of the Scheduling Order to re-open the discovery period to permit discovery from


MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                          PAGE 6
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                 Page 7 of 13 PageID 4575


opt-in plaintiffs and to set a deadline for Defendants to file a Motion to Decertify the Class and

Motion for Summary Judgment. (Doc. 129).

        21.    Pursuant to the June 4, 2015 scheduling order, the parties were to complete

discovery no later than October 30, 2015. (Doc. 129)

        22.    From May 5, 2015 through June 29, 2015, Plaintiffs filed thirty-one (31) Notices

of Filing Consents for an additional forty-six (46) Plaintiffs to join the Class Action Lawsuit.

(Docs. 86-90, 92-93, 96-100, 105-108, 111, 113-114, 117, 122, 124, 127, 130-131, 135-138, 140-

141, & 147).

        23.    Accordingly, on October 2, 2015, the parties filed an Agreed Motion to Extend

Discovery and Decertification/Dispositive Motions. (Doc. 149).

        24.    On October 2, 2015, the Court granted the Agreed Motion and graciously extended

the discovery deadline until December 11, 2015. (Doc. 150).

        25.    This left Defendants a little over five (5) months to send out written discovery and

obtain depositions from forty-six (46) opt-in Plaintiffs. (Docs. 86-90, 92-93, 96-100, 105-108,

111, 113-114, 117, 122, 124, 127, 130-131, 135-138, 140-141, & 147).

        26.    On February 12, 2016, Defendants filed a Motion to Decertify Class. (Docs. 170-

172).

        27.    On March 4, 2016, Plaintiffs filed a Response to Defendants’ Motion to Decertify

Class. (Docs. 174-175).

        28.    On March 18, 2016, Defendants filed a Reply to Plaintiffs’ Response to

Defendants’ Motion to Decertify Class. (Docs. 178).

        29.    To date, an Order on Defendants’ Motion to Decertify Class has not been issued.




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                           PAGE 7
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                     Page 8 of 13 PageID 4576


       30.        In late May 2016, during the jury trial of the State Court Case, the predecessor

counsel for Versacom questioned Tuan Ngo and Loc Tran regarding time expended engaging in

activities in conflict with Versacom during the time that they were employed by Verscacom. See

Exhibit 1, ¶ 5.

       31.        Defendants anticipate that the testimony will raise additional issues with respect to

the Decertification of the Class Action with respect to the commonality of the opt-in Plaintiffs.

See Affidavit of Sean Modjarrad, attached as Exhibit 4, ¶ 14.

       32.        Specifically, Mr. Tran was questioned about working on a competing venture with

Versacom while he was “on the clock” with Versacom. See Exhibit 1, ¶ 5.

       33.        On June 1, 2016, the jury in the State Court Case found that Mr. Tran had breached

his fiduciary duty to Defendant. The charge of the Court is attached as Exhibit 5.

       34.        On June 30, 2016, Defendants’ predecessor counsel filed a Motion for Withdrawal

of Counsel, which was less than thirty (30) days prior to the deadline to file pretrial materials, and

the Court granted the Defendants’ predecessor counsel’s motion that same day. (Docs. 181 and

182, respectively).

       35.        On July 6, 2016, the Court Ordered Defendants to obtain counsel within twenty-

eight (28) days of the date that the Order was filed in Court. (Doc. 183).

       36.        In accordance with the Court’s Order, Defendants met with several attorneys to

represent them in connection with this lawsuit, including: (1) Joe Kendall; (2) Richard Faulkner;

(3) Kahlid Hamideh; and (4) Scott Perez; however, they would not accept representation of

Defendants in this matter. See Exhibit 1, ¶ 10.




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                               PAGE 8
 Case 3:13-cv-04689-D Document 199 Filed 07/29/16                    Page 9 of 13 PageID 4577


       37.     On July 27, 2016, prior to the expiration of Defendants’ deadline to find substitute

counsel, the Plaintiffs filed a Motion for Sanctions against the Defendants for failure to comply

with the Court’s deadlines in the Trial Setting Order. (Doc. 194).

       38.     Since Defendant Versacom, LLC was not represented by counsel, it was impossible

for Versacom, LLC to exchange or file documents in this lawsuit without representation of

counsel. See Exhibit 1, ¶ 15.

       39.     On July 28, 2016, Defendants retained Sean S. Modjarrad to represent them in the

aforementioned case. See Exhibit 1, ¶ 12 & Exhibit 4, ¶ 3.

       40.     Defendants’ counsel acquired the file from its predecessor on July 28, 2016 (11

days prior to trial), which includes, but is not limited to, approximately 1,500 pages of document

production from Plaintiffs, approximately 11,700 pages of document production from Defendants,

13 witness depositions, and 196 filings with the Court. See Exhibit 4, ¶ 16.

       41.     To date, Defendants’ counsel has not received the full file from Strassburger &

Price, the counsel who represented Defendants prior to Defendants’ counsel’s predecessor. See

Exhibit 4, ¶ 17.

       42.     Also, on July 28, 2016, Defendant Muhammad Al-Amin emailed the Court reporter

who transcribed the testimony in the State Court Case for the purpose of acquiring the transcript

of the Defendants Tuan Ngo and Loc Tran’s testimony during the State Court Case trial. See email

from Muhammad Al-Amin to Sue Maienschein, the court reporter, sent on July 28, 2016, which

is attached as Exhibit 6.

       43.     On July 29, 2016, Sean S. Modjarrad filed his notice of appearance in this case.




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                           PAGE 9
Case 3:13-cv-04689-D Document 199 Filed 07/29/16                     Page 10 of 13 PageID 4578


                                                 II.
      ARGUMENT FOR MOTION FOR CONTINUANCE AND MOTION FOR MODIFICATION OF
                              SCHEDULING ORDER

       44.     The Court has inherent authority under Rule 16 of the Federal Rules of Civil

Procedure to enter appropriate orders regarding management of the case based on the particular

circumstances and interests involved. See, e. g., Davis v. Duplantis, 448 F.2d 918, 921 (5th Cir.

1971) (district court has wide discretion under Rule 16 to enter appropriate pretrial orders taking

into full consideration the particular circumstances of the case).

       45.     A schedule may be modified for good cause and with the judge’s consent.

Fed.R.Civ.P. 16(b)(4).

       46.     In the action at bar, the Defendants seek the modification of the Court’s Scheduling

Order for the purposes of continuing the trial and completing additional discovery. More

specifically, the deposition of Plaintiffs’ expert concerning his damages model and, in the event

the Court denies the Plaintiffs’ Motion for Decertification of Class, written discovery and

deposition testimony concerning the additional class action Plaintiffs. See Exhibit 4, ¶¶ 8-14.

       47.     In addition, Defendants seek a continuance of the trial date in order to provide

Defendants’ new counsel the opportunity to review the voluminous documents in this case acquire

the trial testimony of Plaintiff Loc Tran regarding the issue of whether they were working for

Versacom or working for a competing interest while they were “on the clock” with Versacom. See

See Exhibit 4, ¶¶ 8-14 & 19.

       48.     With respect to the review of the documents in this case, Defendants’ counsel

acquired the file from its predecessor on July 28, 2016 (11 days prior to trial), which includes, but

is not limited to, approximately 1,500 pages of document production from Plaintiffs,




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                             PAGE 10
Case 3:13-cv-04689-D Document 199 Filed 07/29/16                    Page 11 of 13 PageID 4579


approximately 11,700 pages of document production from Defendants, 13 witness depositions,

and 196 filings with the Court. Exhibit 4, ¶ 16.

       49.     The discovery is needed by Defendants and is relevant and material because: (1)

the deposition of Plaintiffs’ expert is necessary for Defendants to ascertain the basis of Plaintiffs’

expert’s testimony, which is largely based upon conversations he had with Plaintiffs, and ascertain

whether Plaintiffs’ expert was informed of and considered the time Plaintiffs expended on outside

endeavors during the time they claim they are owed wages for Versacom; and (2) the written

discovery and deposition testimony concerning the added class action Plaintiffs is necessary in

order to ascertain the amount of their claims, the basis of their claims, and whether their claims

are viable. See Exhibit 4, ¶ 9-14.

       50.     If Defendants are unable to acquire the aforementioned discovery they will be

severely prejudiced because they will be cross-examining both the expert witness and the added

class action Plaintiffs without knowledge of the basis of their claims and opinions. This will place

Defendants at a severe disadvantage where they will have to ask questions in front of a jury without

having knowledge of the answers to same.

       51.     Moreover, Defendants will be severely prejudiced in that they will be forced to

formulate a defense to factual statements at the time of trial for which they are unprepared to

address.

       52.     Defendants were reasonably diligent in securing discovery and preparing for trial

in that: (1) they diligently sought counsel in compliance with the Court’s Order by speaking with

at least four (4) attorneys’ prior to timely acquiring counsel; (2) Defendants acquired the testimony

with which to cross-examine Plaintiffs’ expert at the time of the trial of the State Court case, which

was in late May 2016, which was subsequent to the discovery deadline; (3) Defendants requested


MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                              PAGE 11
Case 3:13-cv-04689-D Document 199 Filed 07/29/16                    Page 12 of 13 PageID 4580


a transcript of the testimony on July 28, 2016; (4) Defendants cannot know whether the Plaintiffs’

expert will be able to opine on the damages of the added class action Plaintiffs unless and until the

Motion for Declassification of Class is decided by the Court; and (4) Defendants did not wish to

waste the resources of both parties by deposing class action Plaintiffs in the event the Court granted

its Motion for Decertification of the Class. See Exhibit 4, ¶ 12.

       53.     This motion for continuance is not just for delay but so that justice may be done.

See Exhibits 1, ¶ 16 & Exhibit 4 ¶ 21.

       54.     The Continuance will not prejudice Plaintiffs because the extension will permit the

Motion for Declassification to be decided by the Court prior to trial, which will enable for a more

efficient trial and trial preparation, and the discovery by Defendants will shorten the length of the

trial by narrowing issues through discovery (rather than on the witness stand). See Exhibit 4, ¶ 9.

                                                 III.
                                            CONCLUSION

       Defendants request that this Court grant this Motion for Continuance and Modification of

the Court’s scheduling order to continue the trial for at least 180 days and modify the scheduling

order to permit discovery for an additional 120 days.          The aforementioned would permit

Defendants to acquire the transcript of the trial testimony from the State Court Case that is relevant

to this lawsuit, depose Plaintiffs’ expert concerning the trial testimony, ascertain whether the class

will go forward prior to engaging in additional discovery of potential parties in this lawsuit, permit

Defendants’ counsel time to familiarize himself with the voluminous documents involved in this

matter, and utilize the Court’s ruling on the Motion for Decertification as well as the discovery

and testimony to narrow the issues for a more efficient trial of this matter.




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                              PAGE 12
Case 3:13-cv-04689-D Document 199 Filed 07/29/16                  Page 13 of 13 PageID 4581


       WHEREFORE, Defendants request that the trial be continued for at least 180 days and the

discovery period be extended for an additional 120 days as well as such other and further relief as

the Court deems just and appropriate.

                                             Respectfully submitted,


                                             /s/ Sean S. Modjarrad
                                             SEAN S. MODJARRAD
                                             Texas Bar No. 24027398
                                             smodjarrad@modjarrad.com
                                             SARAH M. SCHECHTER
                                             Texas Bar No. 24062987
                                             sschechter@modjarrad.com
                                             DAVID MIZGALA
                                             Texas Bar No. 24031594
                                             dmizgala@modjarrad.com
                                             JEFF SHELTON
                                             Texas Bar No. 24011458
                                             jshelton@modjarrad.com
                                             MODJARRAD | ABUSAAD | SAID LAW FIRM
                                             212 W. Spring Valley Road
                                             Richardson, Texas 75081
                                             Tel. (972) 789-1664
                                             Fax. (972) 789-1665
                                             Attorneys for Defendants Versacom,              LLC,
                                             Muhammad Al-Amin, and Afreen Al-Amin



                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of
record by electronic service in accordance with the local rules of United States District Court for
the Northern District of Texas, Dallas Division this 29th day of July, 2016.

                                             /s/     Sean S. Modjarrad




MEMORANDUM IN SUPPORT OF MOTION FOR CONTINUANCE AND
MODIFICATION OF SCHEDULING ORDER                                                           PAGE 13
